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                           Exhibit 4
                                                          jkzp j:             y cgray
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                      INTHE UNITEDSTATES DISTRICTCUURT
                     FOR THE W ESTERN qISTRICT OFVIRGINIA
                            CHARLOTTEW iLLE DIVISION


 UNITED STATES OF AM ERICA

 M.                                      Crim inalAction No.3:18CR00025-002

 M ICHA EL PAUL M ISELIS



        In the presence ofW arren Cox,m y counsel,who has fully explained the charges

 contained in the indictm entagainstm e,and having received a copy ofthe indictm ent

 from the United States Attorney before being called upon to plead,lhereby plead guilty

 to said indictm entand CountOne thereof.Ihave been advised ofthe m axim um

 punishm entwhich may be im posed by the courtforthis offense.M y plea ofguilty is

 m ade knowingly and voluntarily and withoutthreatofany kind orwithoutprom ises other

 than those disclosed here in open court.


                                                      ;              .A
                                                                              <
                                                A .
                                         Signature ofDefendant

        5 /5/(r
 Date


                              ..A*




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   InOSS




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Case 2:18-cr-00759-CJC Document 137-4 Filed 05/06/19 Page 3 of 21 Page ID #:937
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                                                                  LT
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                                                                            $ COURT  -



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                            W ESTERN D ISTRICT O F VTR G INIA
                              CH AQI,O TTESV HULE DW ISION

  U M TED STATES O F AM ER IC A                  :   C rim inalNo.3:18 CR 00025
                                                 :
                                                 :

  M C H AEL PA UL M ISELIS


                                  STATEM EN T O F O FFEN SE

         The offensesdescribed below occurred within the W estern D istrictofV irginia,asw ellas
  other districts. This SG tem ent of Facts brieiy sum m arizes the facts and oircum stances
  surrounding the defendant'scrim inalconduct. Itdoesnotcontain a1lofthe inform ation obtained
  during this investigation and applicable to an accurate Presentence Report and Sentencing
  Guidelines calculation.

         'rhisstatementoffactsisnotprotectedbyyrofferagreementoranyotheragreement,and
  shallbe wholly adm issible attrial in the eventthls plea is laterw ithdraw n notwithstanding any
  Rulesorstatutestothecontrary includingbutnotlimitedto,FederalRulesofEvidence408and
  410,and FederalRuleofCrim lnalPfocedure 11.                                    .
         In early 2017,thedefendantM ichaelPaulM iselisandotherindividualsparticipated in an
  orgsnization originally known aà the RDW Division''thatwms later re-branded as the Rltise
  A bove M ovem ent''or EQRA M .'' RAM w as located in the greater Los Angeles,Califom ia area
  and represented itself as a com bat-ready,m ilitantgroup of a new nationalistw hite suprem acy '
  and identity movement. RAM regularly held hand-to-hand and othercombattraining forRAM
  membersandmssociatestopreyaretoenjageinviolentcongonàtionswithyrotestorsandother
  individuals at purported Rpolitlcal''rallles. They attended these rallies w lth the intention of
  provokingphysicalconflid with counter-protestors,which theybelievedwouldjustifytheiruse
  of force against the counter-protestors and shield them from prosecution for their acts ùf
  violence.RAM leadersorganizedthetrainingsessionsandattendanceatpoliticalralliesthrougll
  phonecallsand textmessages. In 2017,thedefendantattended severalsuchtraining eventsand
  rallies.

         Through various social m edia platform s,RAM would publicly postphotographs of its
  m em bers w ith their faces partially concealed. These photographs w ould be accompanied by
  statementssuchasR'
                   W henthesquadl'lsnotoutsmashingcommies,''O rightwingdeathsquad,''or
  tWgoodnightleûside.''


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             1.     H untington Beach,C alifornia on M arch 25,2017

             On M arch 25, 2017,the defendant attended a pum orted political rally in H untington
      Beach,Califomiawhere he metseveralRAM members. AtthateventlseveralRAM m embers
      pursued and assaulted groups of protestors and other persons. Additlonally, at the rally, the
      defendantexchanged phonenumberswith atleastoneotherRAM member(and co-defendant).
      Follow ing the rally, photographs depicting RAM m em bers mssaulting protestors and other
      persons w ere covered on the new s and on the ie ont page'' of various N eo-N azi, white
      suprem acist w ebsites. R AM m em bers celebrated this coverage,and used the lnternet to post
      statem ents,photographs,and videos of assaults com m itted by RAM m em bers at this rally in
      orderto recnlitm embersto engagein violentcùnfrontationsatfumre events. Forexample,on
      the evening after the rally,the defendant sent a text m essage to his co-defendant: Gf elebrity
      status....welldone.'' In thetextmessages,thedefendantalso expressedan interestinjoining
      R AM for future trainings. In referencing these events atH untington Beach,the RAM Tw itter
      account later posted a photograph show ing several R AM m em bers at the eventa with the
      message,RshortlyaRerthispicantifawmsbtfofi.e.,blownthef- kout)inHuntingtonBeach.''
             H.     Berkeley R iots on A pril15,2017

             Inearly2017,apumortedgoliticalrallywasscheduledtooccurinMartinLutherKingJr.
      Civic CenterPark in Berkeley,Callfornia.

             In anticipationofthisrally,RAM invited thedefendanttojoin them forcombattraining
      on Sunday,A pril9,2017,in San Clem ente,Califom ia,the w eekend before the rally. Atthis
      training,oneofthesubjectsoffocuswouldbetçhandto handfighting and formation fightinp''
      '
      The defendantattended these trainings.

             On or aboutApril14,2017,a fellow RAM member,using a debitcard,reserved and
      rented a van *om A irport V an Rentals located at the Los M geles International A irport to
      transport the defendant and other RAM m em bers 9om southern California to Berkeley,
      California. O n the evening of Friday,A pril 14,2017,the defendantm etw ith eightother RAM
      m em bersw ho then traveled to Berkeley,California in thevan.

             On April15,2017,severalhtm dred people - to include the defendantand the otherRAM
      m em bers - attended the rally. The defendant and other R AM m em bers were dressed in gray
      clothing,goggles,and a black scarfs orm asksto coverthe low erhalfoftheir faces. Tllroughout
      the day,there were severalviolentcl%hesbetween some rally attendees and individuals
      protestlng the rally. ln one ofthe tirstsuch instances,RA M m em bers,including the defendant,
      crossed the banier separating the attendees and protestors,and assaulted protestors and other
      individuals. In one instance,the defendéntpunched som eone in the back ofthe head and broke
      hishand.



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              A s the rally broke up, rally attendees and protestors dispersed onto the streets of
       dow ntown Berkeley. The defendant, alongside other R AM m em bers and rally attendees,
       followed a large group ofprotestorsw ho were leaving the area. In severalinstances,otherRAM
       m em bers chased and attacked protestors,punching and kicking them . On April 16,2017,in
       describingthisinstance,thedefendantstated in atextmessagehe&twasabouttojump intothat
       butourguyswerejustwreckingthem''andthattherewastfnoteven any room togetahitin.''
       Theseactsofviolenceweregartofandinfurtheranceofariot,asthatterm isdefinedunder18
       U.S.C.j2102,andwerenotlnself-defense.
               Follow ing the rally,photographs depicting defendantand otherRAM m em bersassaulting
       protestors and other persons w ere covered on the new s and on various N eo-N azi, white
       suprem acistwebsites. RAM m embers celebrated this coverage,and used the lntem etto post
       photographsand videosofassaultscommitted by RAM membersin orderto recruitm embersto
       engage in violent congontations at future events. In a text m essage on April 16, 2017, the
       defendantdescribed the eventasKatotalAryan victory.''On M ay 15,2017,theRAM lnstagram
       account posted a photograph of a RAM m em ber wearing a black skull m ask at the Berkeley
       eventalong w ith the com m ent,RM ghtwingdeathsquad.'' On January 10,2018,the R AM Tw itter
       accountposted a m essage describing itself ms Qhe only altright crew that actually beats antifa
       senseless and w ins rallies.'' On Febnzary 14,2018,the RA M Gab accountposted a photograph
       ofa R AM m em berptm ching a protestoratthe Berkeley eventalong with the text,çt-ralk shitget
       hitl''

              Because the defendant had broken his hand by ptmching someone in Berkeley,future
       RAM trainings events would include training on using Kspalm strikes''and elbow s. Over the
       sum m erof2017,the defendantattended these kainingsto prepare forfuture rallies.

              1TI.   Preparationsand Travelto Charlottesville in A ugust2017

              In oraround the spring and sllm m erof2017,an eventreferred to asthe Ku nite the Right''
       rally w as organized and scheduled to occur on A ugust 12, 2017, at Em ancipation Park in
       Charlottesville, Virginia. This rally was w idely prom oted on social m edia and internet sites
       associated w ith w hite-suprem acistindividuals and groups,and was scheduled to feam re a lineup
       ofwell-known white-suprem acistspeakers.

              OnJuly29,2017,thedefendant,usinghiscreditcard,purchmsedaone-wayticket9om
       A m erican A irllnesforcom m ercialflights 9om LosA ngelesIntem ationalA irportin Californiato
       Charlottesville A lbem arle A im ort in Charlottesville, Virginiw departing on A ugust 11,2017.
       The defendantwas excited aboutthe events scheduled for Charlottesville. H e expected itw ould
       becom e a riotand thatexperience in riots atHuntington Beach on M arch 25,2017 and Berkeley        '
       onApril15,2017wouldbevaluable.Forexsmple,onJune30,2017,thedayaAerhebouyhthis
       ticket,the defendantposted on the Discord platform to tlw Rcharlottesville''thread for Unlte the
       Right Rally participants: tt ooking forward to the day.W ill be bringing another Berkeley /
       Huntington vd.''


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             OnAugust9,2017,thedefendantreceivedatextmessajefrom aco-defendantthatCole
      W hite would be traveling and staying w ith them in Charlottesvllle. The co-defendant described
      Cole W hite as an RExcellentfighter. Stoked to have him w ith us.'' To the new s,the defendant
      replied:çW ice,don'tknow thatIgotto GIICto him atBerkeley.''Priorto leaving California,'    I'
                                                                                                   he
      defendant had been given responsibility of purchasing torches and helm ets once he arrived in
      Charlottesville. Hetexted a co-defendantforaprecise cotmton thenllmberofhelmetsneeded,
      asking ttone for each ofthe R AM guys? lfso,how m any guysdo w e have?'' 'fhe co-defendant
      rem inded him UM aICe sure to notuse yourcard. HittheA TM and use cash.''

              O n A ugust 10,2017 at 9:20 pom ,the defendant boarded the flrst 1eg of his three-tlight
      itinerary, traveling overnight 9om California to Charlottesville, Virginiw landing at
      approximately 9:25 am.(EST). Atthe time ofhis travel,the defendantexpected thatthe
      upcomingeventsin Chadottesvillewouldresultinariotdurinjwhich eitherheorhisfellow
      RAM m em bers traveling to Charlottesville w ould engage m violent congontations w ith
      protestorsorother individuals.

             ln anticipation ofthesecongontations,aAeranivinj in Charlottesville,thedefendant
      wentto W al-M artand - using his debitcard - m ade a nom lnalpurchase for a 98-centpack of
      gum with $100.00 in cash back,which hethen usedtopurchaseb% eballhelm etsforhimselfand
      fellow R AM m embers. M otherR AM m em berpurchmsed athletic tape atthe W al-M artto w rap
                                          '

      theirsstsin ordertopreventtheirhanils9om breakingwhentheypunched someone.
             IV.    The Torch-LitM arch atthe University ofV irginia on A ugust 1.
                                                                                 1,2017

             OnAugust11,2017,theeveningpriortoihescheduledUnitetheRightrally,hundredsof
      individuals,includingthedefendantand fellow RAM membersand %sociates,weregathering to
      engage in a torch-lit m arch on the grounds of the University of V irginia in Charlottesville,
      Virginia. At a nearby field where the group w as gathering,the defendant and fellow RAM
      m em bers apd associates lined up in form ation, lit their torches, and w aited for the m arch to
      com m ence. The defendant catalogued M s partioipation and others by his G o-pro,whioh he
      attached to his chestharness.

             Throughoutthemarch,tht participants (including the defendant)engajed in chants
      prom oting or expressing w hite suprem acist and other racist and anti-sem itic vlew s, such as
      KBlood and soill''and N ewsw illnotreplace usl''and ççAnti-W hitel'' The m arch culm inated near
      theUniversityofVirginia'skotunda,whereasmallergroupofindividuals,includingUniversity
      ofVirginia students,had gathered aiound a statue ofThomas Jefferson to protestthe torch-llt
      m arch. M em bers of this group held a banner that read: RVA Students Act Against W hite
      Suprem acy.'' Chanting and bearing torches,the m arch participants encircled the Thomàs
      JeFerson >tattle and surrounded the protestors. Violence erupted am ong the crowd,with som:
      individuals punching, kicking, spraying chem ical irrillm ts, sw inging torohes, and othmw ise
      assaultingothers,allresultinjinat'iotmsthatterm isdefnedunder18U.S.C.j2102.During
      and in furtherance of this not, R AM m em bers and associates punched and struck m ultiple


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  individuals w ith a torch. AAer the students and protestors leA, the defendant yelled Rtotal
  victory''and Etw ebeatyou tonight,w e'llbeatyou tom orrow tool''

        V.      The Unite the R ightR slly on A ugust12,2017

          On the m orning of A ugust 12,2017,m ultiple groups and individuals espousing white-
  suprem acist and other anti-sem itic and racist view s arrived in and around the vicinity of
  Em ancipation Park in Charlottesville,V irginia,to attend the Unite the Rightrally. W hen they
  show ed up to Em ancipation Park,the defendant and other RAM m em bers had in factw rapped
  their hands w ith the white athletic tape purchased the day prior. The defendant carried their
  baseballhelm ets in his backpack. A Aerseveralinstances ofviolence priorto the scheduled start
  oftherally,law enforcementdeclared an itunlawfulassembly''and required rally participantsto
  disperse.

         One of the firstbreakouts of violence on the morning of August 12 ocourred on 2nd
  StreetNE,between Jeflkrson and High Streets,in downtown Charlottesville. Thedefendantand
  otherRAM memberswerepartofa large group of(overforty)individuals seeking entry to
  EmancipationParkbywayof2ndStreetNE,butweretoldb4membersoflaw enforcementthey
  had to enter from a different location. rrhe group,includlng the defendant and other RAM
  members,turnedaround,linedup,andbegantomaketheirwaythroughagroupof(overtwenty)
  individualswho had com eto the rally to protestagainstracialand otherform s ofdiscrim ination.

         A s they m ade their w ay through the group ofprotestors,the defendant and other R.
                                                                                           AM
  m em bers collectively pushed,punched, kicked, choked,head-butted, and otherwise assaulted
  severalindividuals,resulting in a riot. During and in furtherance of this Hot,the defendant
  personally committed multiple violent acts,including butnotlimited to,the following:(1)
  punching aprotestorwhohadalready beenthrown tothegrotmd;and(2)kicking aprotestoras
  theprotestorwasfallingtotheground.Noneoftheseactsofviolencewere in self-defense.

           Later in the day,the defendantand R AM m em bersw entinto Em âncipation Park priorto
  the startofthe rally,where m any additionalviolentinteractions occurred between protestors and
  rally attendees. The defendant,asmemorialized by video footage,soughtto provokeprotestors
  to Rcom e and getit''orto tçcom e getsom e.'' In a subsequentaltercation,the defendantattem pted
  to punch aprotestoratthe top ofthe stairsthatled intothepark andthen soughtto land another
  punch on the sam e individual. This altercation w as capm red on video, which the defendant
  shared with a co-defendantand fellow RAM memberon August20,2017,who replied to the
  defendantRYou should have ran in Iand) chestkicked thatfaggotdown the stairs.'' The
  defendantreplied: çtY eah,m assive regret aAerw atching thatfootage ...nexttim e he's going
  tlying-''
                                                                                '
                                                                         mee   J,,   u.o



       6 /b/!q
     Date                                                   M ichaelPaulM iselis
                                                            D efendant

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                                                   Counself M ich M iselis


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        D ate                                      ThlmasT.Cullen
                                                   U nited States Attonw y


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        D ate                                       hrist erKav      gh
                                                   AssistantU n' StatesAttorney




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                          CH ARLO TTESVR LE D M SIO N


   IJNITED STATES O F AM ERICA

              V.                                  CaseNo.3:18cr25

   M ICH AEL PAUL M ISELIS

                                   PLEA AG REEM E NT
          1 have ap eed to enter into a plea ap eem entw ith the United States ofA m erica,
   pursuantto Rule 11oftheFederalRulesofCriminalProcedure. Iunderstandthatthisplea
   agreem entexpireson M ay 3,2019,and that1m ustenterthisguilty pleaby oron thatdate,
   unlessan extension isap eed upon by theUnited StatesAttom ey'sOfficefortheW estem
   DistrictofV irginia.

         Theterm sand conditionsofthisap eem entare msfollows:

   A.CHAQGEIS) TO W HICH I AM PLEADG G GG TY AXD W AW ER OF
      W GH TS

      1. TheChareesand PotentialPunishm ent

         My attomey hmsinformedmeofthenatureofthechargets)andtheelementsofthe
   chargets)thatmustbe proved by theUnited Statesbeyond a reasonabledoubtbefore I
   could befotm d guilty ascharged.

         lw illenteraplea ofguilty to Cotmt1oftheIndictnw nt.

         Count1chargesmewith Conspiracy toRiot,inviolation of18U.S.C.j371.The
   maxkmlm stamtory penalty isafme of$250,000 and/orH prisonmentforaterm oftqve
   years,plusaterm ofsupervised release ofthreeyears.

         lunderstandrestimtionmaybeordered,myassetsmaybesubjecttofor(eiture,and
   feesmaybeimposedto?ayforincarceration,supervisedreleœse,andcostsofprosecution.
   Inaddition,a$100speclalDsessment,pursuantto 18U.S.C.j3013,willbeimposedper


                                                             Defendant'szaf/o /x..     h
                                        Page 1 of 13


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                                                                   '     .
 .




     felonycountöfconviction.lfurtheylmderstandmysupervisedreleasemayberevokedif
     1violate itsterm s and conditions. Iunderstand a vlolation ofsupervised release increases
     thepossibleperiod ofincarceration.

            Iam pleading guilty ms described above because Iam in factguilty and because l
     believe itisin m y bestinterestto do so and notbecause ofany threatsorprom ises. There
     hasbeen no prèm ise m ade whatsoeverby anyone mqto whatthe fm aldisposition ofthis
     m atterw illbe.

        2. W aiverofConstitutionalRiehtsUpon a Plea ofG uiltv

           IacknowledgeIhavehada1lofmyrightsexplainedtomeandIexjresslyrecognize
     lhave the following constitutionalrights and,by voluntarily pleading gullty,Iu ow ingly
     w aive and give up these valuable constim tionalrights:

            a. Therigphtto plead notgtul
                                       'ty and persistin thatplea;
           b. Thel'ightto aspeedy andpublicjuryhial;
           c. Therightto assistance ofcounselatthattrialand in any subsequentappeal;
           d. The rightto rem ain silentath'ial;
           e. Therightto testify attrial;
           f. Therightto confrontand cross-exam inew itnessescalled by the govem m ent;
           g. Thel'ightto presentevidence and w itnessesin my own behalf;
           h. Theriglztto com pulsory processofthecourt;
           i. Therightto compelthe attendanceofwim essesattrial;
           j. Therighttobepreslxmedinnocent;
            k. The l'ightto aunnnim ousgtzilty verdict;and
            1. The rightto appeala guilty verdict.

        3. Dism lAsalofCounts

            If1 com ply w ith m y obligationsunderthe plea am eem ent,the United Statesw ill
     move,atsentencing,thatlbe dismissed as a defendantin any remaining countts). I
     stipulate and ageetheUnited Stateshad probablecausetobring a11the countsin the
     Indictm ent whlch are being dism issed tm der this av eem ent, these charges w ere not
     frivolous,vexatiousorin bad faith,and Iam nota tçprevailing party''with regard to these
     charges. lf'lzrtherwaive any claim forattom ey'sfeesand otherlitigation expensesarising
     outofthe investigation orprosecution oftllism atter.




                                                                Defendant'
                                                                         sJ'
                                                                           af/fc/1'.- & &
                                                                                  .



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      B. SEN TENCG G PR OW SION S

         1. G eneralM atters

            I lmderstand the determ ination of what sentence should be im posed,within the
      confm esofany applicablestattztory m inimlxm sand m axim um s,isin the sole discretion of
      the Court subject to its consideration of the United States Sentencing Guidelines
      (''guidelines''or''U.S.S.G'')andthefactorssetforth at18U.S.C.j3553($. lunderstand
      lwillhave an opportunity to review a copy ofm y presentence reportin advance of my
      sentencing hearing and may fileobjections,asappropriate. Iwillhave an opporttmity at
      my sentencing hearing to presentevidence,bxing w itnesses,cross-exam ine any wim esses
      thegovernm entcallstotestify,and arguetotheCourtwhatan appropriate sentence should
      be within the confm esoftheterm softhisagreem ent.

              I tmderstand I w illnotbe eligible for parole dtuing any term of imprisonm ent
      im posed. I understand the Court is not bound by any recom m endation or stipulation
      contained in this agreem ent and m ay sentence m e up to the statutory maximum . I
      understand Iwillnotbe allowed to w ithdraw m y plea ofguilty ifthe Courtdisregardsthe
      stipulationsand/orrecom m endationssetforth in the plea am eem ent.

             Ilm derstand ifthe sentence ism ore severetha11Iexpected,Iwillhaveno rightto
      withdraw myplea.lhavediscussedsentencingissueswithmyattorneyandrealizethere
      isa substnntlallikelihood Iwillbe incarcerated.

          2. Nqptencip-.
                       z G uidelines
             lstipulate and ap'ee thata11m atterspertaining to any ofthe cotmtsofthe charging
       docllmentts), including any dismissed cotmts, are relevant conduct for purposes of
       sentencing.

           Thegarties aveethe 2018 edition ofthe United States Sentencing Guidelines
      Manualappllestoanyguidelinescalculationmadepertainingtomyoffensets).Istipulate
      thatthefollowinggtudelinesedionts)areapplicabletomyconduct:
                                A gp avated A ssault
                 2M .2 14 (AssaulthwolvingIntenttoCommitAnotherFelon
           2A2.2(b)(1) + 2 OFenseinvolvedmorethan minimal hnning
         2A2.2 b)(3 A + 3 Victim sustainedbodilyin'ury


                                                                 Defendant'sInltials:
                                            Page 3 of 13


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         'l'he United States stipulatesthatthe guideline sectionts)setforth in thissection
   should apply to my conduct.

          1understand otherguideline sectionsm ay be applicableto m y case and the United
   Statesand 1w illbe9eeto arguewhetherthese sectionsshould orshould notapply;to the
   extenttheargum entsarenotinconsistentw ith thestipulations,recom m endationsandterm s
   setforth in thisplea agreem ent.

          I tmderstnnd the United States retains its right to seek a sentence outside of the
   applicableguidelinerange.

         1 agree to acceptresponsibility formy condud . If1com ply w ith my obligations
   underthisplea ap eem entand acceptresponsibility form y conduct,theUnited Statesw ill
   recom m end the Courtgrant m e a two-levelreduction in m y offense level,purslmnt to
   U.S.S.G.j3E1.1(a)and,ifapplicable,atsentencing,willmovethatIreceiveaone-level
   reduotion in my offense level,pm suant to U.S.S.G.j 3E1.1(b),for purposes of any
   guidelines calculation. H owever,I stipulate thatif1 failto acceptresponsibility for my
   conductor failto com ply with any provision ofthisplea av eem ent,Ishould notreceive
   creditforacceptance ofresponsibility.

      3. SubstantialA ssistance

         1understand the United Statesretainsa11ofitsrightspursllnntto Fed.R.Crim .P.
   35(b),U.S.S.G.j5K1.1 and 18 U.S.C.j3553($. lundershnd even iflfully cooperate
   with 1aw enforcem entathe United States is underno obligation to m ake am otion forthe
   reduction ofmy sentence.'1tmderstand iftheUnited Statesm akesam otion forareduction
   in m y sentence,the Court,aRer hearing the evidence,w ill determ ine how much of a
   departure,ifany,Ishould be given.

      4. M oneta> O blieations

          a. SpecialA ssessm ents.Finesand R estitution

          1 understand persons convicted of crimes are required to pay a mandatory
   % sessm entof$100.00 perfelony cotmtof conviction. lav ee I willsubm itto the U .S.
   Clerk'sOffke,a certified check,m oney order,or attom ey'stnlstcheck,made payable to
   theçf lerk,U .S.D istrictCourt''forthe totalam ountdue form andatory % sessm entsprior
   to enteling my pleaofguilty.




                                                              Defendant'sInitials:
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          Iap eeto pay restimtion forthe entire scopeofmy crim inalconduct,including,but
  notlim ited to,a11m atters included asrelevant conduct. In addition,I am ee to pay any
  restim tion required by law ,including,butnotlirnited to,am otmtsduepursuantto 18U SC
   qj2259,3663,and/or3663A. lunderstand and agree arequirementIpay restitution for
   a11oftheabove-stated matterswillbeimposed upon measpartofany fmaljudpnentin
  thism atter.

          l further agree to m ake good faith efforts toward payment of a11 m andatory
   mssessm ents,restim tion and fm es,with whatever m eans I have atmy disposal. I agree
   failureto do so willconstimte aviolation ofthisav eem ent.Iwillexecute any docum ents
  necesstrytoreleasethefhndsIhaveinanyrepository,bnnk,investment,otherfmancial
   institutlon,or any other location in order to m ake partial or total paym ent tow ard the
   mandatory assessm ents,restitution and fm esimposed in my case.

          Ifully understand restitution and forfeitureare separate fm ancialobligationswllich
   m ay be im posed upon acrim inaldefendant. Ifurtherunderstandthereisaprocessw ithin
   the D epartm ent of Justice whereby, in certain circllm stances, forfeited funds m ay be
   applied to restim tion obligations. 1tm derstand nö one hasm ade any prom isesto m e that
   such aprocessw illresultin adecre% e in my restim tion obligationsin thiscase.

         ltmdersund and apee,pursuantto 18 U.S.C.jj 3613 and 36644n9,whatever
   monetary penaltiesare imposed by the Courtwillbe dueimmediately and subjectto
   im m ediateenforcem entby theUnited Statesasprovided forby statute.Ilmderstand ifthe
   Courtim poses a schedule of paym ents,that schedule is only a m inim um schedule of
   paym entsand nottheonly m ethod,noralim itation on them ethods,availabletotheUrlited
   Statestoenforcethejudgment.
         lareetoqanttheUnitedStatesawageassignment,liquidateassets,orcomplete
   any othertaslcsw hlch willresultin im m ediate paym entin 1 11,orpaym entin the shortest
   timeinwhich fullpaym entcanbere%onablymadeasrequiredunder18U.S.C.j3572(* .
           Iexpressly authorizetheUnited StatesAttorney'sOfficeto obtain acreditreporton
   m e in orderto evaluatem y ability to satisfy any fm ancialobligation imposed by the Court.

         Iagree the follow ing provisions,orw ordsofsim ilareffect,should be included ms
   conditions ofprobation and/or supervised release:(1) çç'rhe defendantshallnotify the
   FinancialLitigation Unit,Ulzited StatesA ttom ey's Oflk e,in writing,of any interest in
   property obtained,directly orindirectly,including any interestobtained tm der any other
   nam e,or entity,including a tnlst,partnership or corporation afterthe execution ofthis


                                                               Defendant'
                                                                        sJ'
                                                                          af/fJlx.
                                                                                 -11V
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   aveementuntilal1fmes,restimtion,moneyjudgmentsandmonetaryœssessmentsarepaid
  in 111''and (1)R'Ihe Defendantshallnotlfy theFinancialLitigation Unit,United States
  Attorney'sOffke,inwriting,atleast30dajspriortotransfeninganyinterestinproperty
  owneddlrectlyorindirectlybyDefendant,mcludinganyinterestheldorownedunderany
   other nam e or entity, includm g trusts, partnership and/or com orations until a11 fm es,
  restimtion,moneyjud> entsandmonetary assessmentsarepaidin fu11.''
         The parties will also jointly recommend that as a condition of probation or
  supervised relemse, Defendant will notify the Financial Litigation Unh,United States
  Attorney's Offk e,before D efendanttransfers any interest in property owned directly or
  indirectly by D efendant,including any interestheld or owned under any othernam e or
   entity,includingtrusts,paM ership and/orcorporations. See 18U.S.C.j3664(k),(n).
          Regr dlessofwhetherornotthe Courtspecifk ally dkectspm icipation orim poses
   a schedule of paym ents,I agree to fully participate in inm ate em ploym ent under any
   available orrecomm ended program soperated by theBureau ofPrisons.
                                                                                     /
          lagreeanypaymentsmadebymeshallbeappliedfullytothenon-jointand several
   portion ofmy outstanding restimtion balance untilthe non-jointand severalportion of
   restim tion ispaid in 1 11,l'nlessthe Courtdeterm inesthatto do so w ould cause ahardship
   toavictim oftheoffensets).
         b. Dutv to M akeFinancialDisclosures

         lunderstand in thiscasethereisapossibility substantialfm esand/orrestitution may
   be imposed. In orderto assistthe U nited States as to any recomm endation and in any
   necessary collection ofthose sum s,Iav ee,ifrequested by the United States,toprovide a
   completeand truthfulfm ancialstatem entto theU nited StatesAttorney'sOftk e,w ithin 30
   daysoftherequestor3daysyriortosentencing,whicheverisearlier,detailinga11income,
   expenditures,%sets,liabilitles,giftsand conveyancesby myself,my spouse and my
   dependentchildren and any corporation,partnershlp orotherentlty in wllich Ihold orhave
   held an interest,for the period starting on January 1st ofthe year priorto the yearm y
   offense began and continuing through the date ofthe statem ent. This fm ancialstAtem ent
   shallbe subrnitted in a form acceptableto theUnited StatesA ttom ey'soo ce.

          From the tim e of the signing of this am eem ent or the date 1 si> the fm ancial
   statement,whichever is eadier,I ar ee notto convey anything of value to any person
   w ithoutthe authorization oftheU nited StatesAttom ey's Office.



                                                              Defendant'
                                                                       sInitials: A m
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        c. Understapdipz pfCollection M atters
        Ilmderstand:

         1. asgartofthejudgmentinthiscaseIwillbeorderedtopayoneormoremonetary
           obllgations;
        2. paym entshould bem ade asordered by the Court;
        3. Im ustm ailpaym ents,by cashier'scheck orm oney order,payableto the ''Clerko
           U .S.D istrictCourt''to: 210Franklin RoadaS.W .,Suite540,Roanoke,V irginia
           24011;and includem y nam e and cotu'tnumberon the check orm oney order;
         4. interest(unlesswaived by theCourtland penaltiesmustbeimposed forlateor
            m issed paym ents;
         5. theUnited Statesm ay fileliensonm y realandpersonalproperty thatw illrem ain
            inplaceuntilmonetaryobligationsarepaidin111,oruntilliensexpire(thelater
            of20years9om dateofsentencingorreleasefrom incarceration);
         6. iflretain counselto rem esentm e regarding theU nited States'effortsto colled
            any of m y m onetary obligations,I w illim m ediately notify the United States
            A ttom ey'sOflice,A TTN : FinancialLitigation Unit,P.O.Box 1709,Roanoke,
            Virginia 24008-1709,in m iting,ofthefactofmy legalrepresentation;and
            1, or m y attorney if an attom ey will represent m e regarding collection of
            monetary obligations, can contact the U .S. Attom ey's Oftk e's Financial
            Litigation U nitat540/857-2259.

   C.ADDITIONR       M ATTEWS

      1. W aiver ofRiehtto Appeal

         Knowing thatl have a rightofdirectappealofmy sentence under 18 U.S.C.j
   37424$ andthe poundslisted therein,1expresslywaivetherightto appealmy sentence
  on those m ounds oron any p ound. In addition,1hereby w aive my rightofappealmsto
  any and a11otherissues in this m atter and agree Iw illnot file a notice of appeal. 1 am
  u owingly and voluntarily w aiving any rightto appeal. By signing tbis av eem ent,I am
  explicitly and H evocably directing my attom ey not to flle a notice of appeal.
  N otwithstandlng any otherlanguageto thecontraty,fam notwaiving my rightto appeal
   ortohavee ?attorneyf leanoticeofappeal,açtoany issuewhick cannotbewaives by
   law,ora c/lflzlthat18 IIS.C.#2101 î.
                                      :unconstitutional- 1understandtheUnited States
   expressly reservesa11ofitsrightsto appeal. I agree and understand ifIfle any court
   docum ent(exceptforan appealbased on an issuethatcannotbewaived,by Iam ora
   collateràlattack based on inelectiveassistanceofcounsel)seeldng todisturb,in any


                                                            Defendant'sInitials:
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   way,any order im posed in m y case such action shallconstitute a failure to com ply
   with a provision ofthisagreem ent.

      2. W aiver ofRiehtto Collaterallv Attack

         IwaiveanyrightImayhavetocollaterally yttack,inanyfutureproceeding,any
   orderissued in thism atteh unlesssuch attack isbased on ineffectlve assistance ofcolm qel,
   and ap ee Iwillnottlle any docum entwhich seeksto disturb any such order,unlesssuch
   sling isbased on ineffective mssistance ofcounsel. Iagree and understand thatifIfle
   any courtdocum ent(exceptforan appealbased on an issuenototherwisewaived in
   this agreem ent; an appeal based on an issue that cannot be waived,by Iaw ; or a
   collateralattack based on inelectiveassistanceofcounsel)seekixg todisturb,in any
   w ay,any order im posed in m y case,such action shallconstitute a failure to com ply
   w ith a provision ofthisagreem ent.

      3. Inform ation A ccessW aiver
                      --   -




         Iknowingly and voluntarily am eeto w aive a11rights,whether % serted directly or
   by arepresentative,to requestorreceive9om any departmentoragency oftheUnited
   States any records pertainlng to the kwestigation or prosecution of this case,including
   w ithoutlim itation any recordsthatm ay besoughtunderthe Freedom oflnform ation Act,
   5U.S.C.9552,orthePrivacyActof1974,5U.S.C.9552a.
      4. Abandonm entofSeized Item s

          By signing thisplea av eem ent,Ihereby abandon m y interest1,and consentto the
   offk ialuse,destm ction orotherdisposition ofeach item obtained by any 1aw enforcem ent
   agency during the course ofthe investigation,tm lejssuch item isspeciscally provided for
   itlanotherprovision ofthis plea av eem ent. I fnrther waive any and a11notice of any
   proceeding to im plem entthe offkialuse,des% ction,abandonm ent,orotherdisposition of
   such item s.

      5. Deportation

          lunderstandifIam notacitizen oftheUnitedStates,Imaybesubjecttodeportation
   9om the United States, denied United States citizenship, and denied adm ission to the
   United Statesin thefuture,asàresultofmy conviction fortheoffensets)to which lam
   pleading guilty.



                                                              Defendant'sInltials:
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      6. Adm issibiliw ofStatem ents

          I tmderstand any statements l make (induding tiis plea agreement,and my
   adlnissionofguilt)duringorinpreparationforanyguiltypleahesring,sentencinghenring,
   or otherhesring and any statem entsIm ake orhave m ade to 1aw enforcem entagents,in
   any setting (including dlzring a proffer),may be used againstme in this orany other
  proceeding. Iknow ingly waive any rightlm ay haveundèrthe Constim tion,any stam te,
  rule or other source of 1aw to have such statem ents, or evidence derived 9om such
  statem ents,suppressed or excluded 9om being adm ltted into evidence and stipulate that
  such statem entscan be admitted into evidence.

      7. A dditionalO blieations

         1ap eenotto com m itany ofthe follow ing acts:

             * attemptto w ithdraw m y guilty plea;
             @ denyIcommitted any crimeto wlliclilhavepledguilty;
             * makeoradoptany argtzmentsorobjectionstothepresentencereportthatare
                inconsistentwith thisplea agreem ent;
             * obstrudjustice;
             * failto com ply w ith any provision ofthispleaav eem ent;
             * com m itany othercrim e;
             * m ake a false statem ent;
             * failto enterm y plea ofguilty by April30,2019 - the expiration date ofthis
               plea ap eem ent - tm less a contkmance is agreed to by the United States
               A ttom ey'sOftk e and granted by the Courq

      8. Com pletion ofProsecution

          n e United States Attom ey's Ofûce for the W estem DistrictofVirghlia and the
   United StatesAttorney'sO ftk e forthe CenkalDisu ctofCaliforniaagreethatif1com ply
   w ith my obligationsunderthisplea av eem entand Iam sentenced by thisCourt,they will
   notchargemewithany additionalviolationsof18U.S.C.j2101fortheconductincluded
   in the Statem entofO ffense.

   D.REM ED IES AV AH ,ABLE TO TH E UM TED STATES
          I hereby stipulate and agree that the United States Attom ey's oflk e m ay,at its
   electiow pursue any ora11ofthe following remediesiflfailto com ply w ith any provision


                                                             Defendant'sInitials.
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   ofthisaveement:(a)declarethispleaaveementvoid;(b)refusetodismissanycharges;
   (c)reinstate any dismissed charges;(d)Sle new charges;(e)withdraw any substmntial
   assistance m otion m ade,regardlessofw hethersubstantialmssistancehasbeen perform ed;
   (9 refusetoabidebyany provision,stipulations,and/orrecommendationscontainedinthis
   pleaaveement;or(g)takeanyotheractionprovidedfortmderthisaveementorbystamte,
   regulation orcourtrule.

         ln addition,Iav ee 1,forany reason,my conviction issetaside,orIfailto com ply
   withanyobligationundertheyleaapeement,theUnitedStatesmayflle,byindictmentor
   information,any charjes agamstme which were filed and/orcould have been sled
   concem ingthem attersmvolved intheinstmnthw estigation.Ihereby waivem y righttmder
   FederalRule ofCrim inalProcedure 7 to be proceeded againstby indictmentand consent
   totheflling ofan inform ation againstm econcem ing any such charges.lalsohereby w aive
   any statute oflim itationsdefenseasto any such charges.

         The rem edies set forth abovç are cumulative and not m utually exclusive. The
   United States'election ofany ofthese rem edies,otherthm1declaring thisplea ar eem ent
   void,doesnot,in any w ay,term inate m y obligation to comply w ith theterm softhe plea
   agreement.n euseofûtif''inthissection doesnotmeanuitlandonly iE''
   E. GENER AI,PROW SION S

      1. Lim itation ofAereem ent

           '
           lxis agreem ent only binds the United States Attom ey's Oflk e for the W estern
   D istrict ofV irginiw exceptasprovided in Section C,parar aph 8 above. Otherwise,it
   doesnotbind any state orlocalprosecutor,otherUrlited StatesA ttom ey'sOffice orother
   offk e or agency ofthe United States G overnm ent,including,butnotlim ited to,the Tax
   Division oftheUnited StatesD epnrtm entofJustice,orthelntem alRevenue Serviceofthe
   UnitedStatesDepnrtmentoftheTreasyy Theseindividualsandagenciesremain9eeto
   prosecutemeforanyoFensets)commlttedwithinthei.
                                                rrespectivejurisdictions.
      2. ElectofM y Sienature
          lunderstand my signature on tM s av eem entconstim tes a binding offerby m e to
   enterinto thisav eem ent.llmderstand theUnited Stateshasnotaccepted m y offeruntilit
   sir sthe ap eem ent.

      3. EffectiveR epresentation


                                                            Defendant'
                                                                     xInuuls: 'é
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             Ihavediscm sedthetermgoftheforegoing pleaap eem entand allm atterspertaining
       tothechargesagainstmewithmyattomeyandam fullysatissedwithmlattorneyandmy
       attorney'sadvice. AttM stim e,lhaveno dissatisfaction or com plaintw lth m y attorney's
       representation. Iav eeto m akeknown to the Courtno laterthan atthetim e ofsentencing
       any dissatisfaction orcom plaintIm ay havew ith my attom ey'srepresentation.

          4. M isconduct

             If 1 have any inform ation concenling any conduct of any governm ent attorney,
       agent,em ployee,orconkactorwhich couldbecons% ed msm isconductoran ethical,civil,
       orcrim inalviolation,lap eeto m ake such condud know ntotheUnited StatesAttom ey's
       Offk e and the Court,in writing,ms soon as possible,butno later than my sentencing
       henring.

          5. FihalM atters

             Itm dersh nd athorough presentenceinvestigation willbeconducted and sentencing
       recom m endationsindependentofthe United StatesAttom ey's Oflk e willbe p ade by the
       presentenceyreparer,wllichtheCourtmayadoptortakeintoconsideration.Iunderstand
       any calculatlon regarding the guidelinesby the United StatesA ttom ey's Offk e orby m y
       attorney isspeculativeand isnotbinding uponthe Co< theProbation Offk e ortheUnited
       StatesA ttorney's Offke. N o guarantee hasbeen m ade by anyone regarding the effectof
       the guidelineson m y c% e.

             1understand the prosecution willbe 9ee to allocute ordescribe the nature ofthis
       offense and the evidence in this case and m ake any recom m endationsnotprollibited by
       thisagreem ent.

              l understmnd the United Statesretains the right,notwithstanding any provision in
       thisplea av eem ent,to inform theProbation Oo ce and the Courtofa1lrelevantfacts,to
       addressthe Courtwith respecttothenamreand seriousnessoftheoffensets),to respond
       to any questions raised by the Court,to correctany inaccuracies or inadequacies in the
       presentence reportand to respond to any statem entsm adeto the Courtby oron bihalfof
       the defendant.

              Iw illingly stipulate there is a suffk ient factualbasis to supporteach and every
       materialfactualallegation contained within the charging doclzmentts) to which 1 am
       pleading guilty.


                                                                  Defendant'sJzlfffl/r
                                            Page 11 of 13


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          Iunderstand thisav eem entdoesnotapply to any crim esorchargesnotaddressed
   in thisagreem ent. Iunderstand ifIshould testify falsely in thisorin arelated proceeding
                                                                                          q


   Imaybeprosecutedforperjuq andstatementslmayhavegivenauthodtiespmsuantto
   thisagreementm ay be used agam stm e in such aproceeding.

           Itm derstxnd my attorney willbe 9eeto argue any m itigating factors on m y behalf;
   to the extentthey arenotinconsistentw ith theterm softhisagreem ent.Iunderstand Iwill
   have an opportnnity to personally addresstheCourtpriorto sentence being im posed.

         Thiswriting sets forth the enth'eunderstanding between the partiesand constim tes
   the com plete plea ap eem entbetween the United StatesAttom ey fortheW estern District
   ofVirginia and m e,and no otheradditionalterm s orav eem entsshallbe entered except
   and unlessthose otherterm qor agreementsare in writing and siN ed by the parties.'l'his
   plea av eem entsupersedesal1priorunderstandings,prom ises,av eem ents,orconditions,
   ifany,between theUnited Statesand m e.

          Ihave consulted with my attorney and fully understand a11my rights. Ihave read
   thisplea agreem entand carefully review ed every partofitw ith my attom ey.Iunderstand
   this agreem ent and 1 voluntadly ap ee to it. I have not been coerced,threatened, or
   prom ised anything other than the term s of this plea ar eem ent, described above, in
   exchange for my plea ofguilty. Being aware ofa11ofthe possible consequences ofm y
   plew Ihaveindependently decided to enterthisplea ofmy own 9eew ill,and am afflrm ing
   thatav eem enton thisdate and by m y signaturebelow .


   Date:         9/:/îq                             /             ee   V
                                            M ichaelPaulM iselis,Defendant




                                                              Defendant's.
                                                                         l'
                                                                          af/k/,
                                                                               l'.
                                                                                 -
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*




          Ihavefully explaineda11rightsavailabletomyclientwithrespecttotheoFenses
    listed in thependmg charging doclxmentts). Ihave carefully reviewed every partofthis
    plea av eem entw 1111my client. To m y know ledge,my client's decision to enterinto this
    am eem entisan inform ed and voluntary one.

          IfIw illcontinuetorepresentm y clientregarding theU nited States'effortsto collect
    any m onetary obligations, I w ill notify the United States Attorney's Oflke, A'ITN:
    FinancialLitigation Unit,P.O.Box 1709,Roanoke,Virginia 24008-1709,in writing,of
    thefad ofmy conthmedlegalrepresentationwithin 10daysoftheentry ofjudgmentin
    thiscase.


    llate:T J                ?              W a reR GG ene''Co Esq.
                                            Counsel or D      ant


    Date:S'-*             l&                   J   .
                                            ThlmasT.Cullen
                                            United StatesAttorney


    Date: 5 2(
                                             llri opher R.     ana gh
                                            AssistantUnited StatesAttorney




                                                               Defendant'sInltlals:
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